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7/20/2020 ' Leadership Team ! Turn Key Health Clinics

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Flint Junod, Chief Executive Officer

Flint Junod’s service to correctional health began in 2005. Throughout his tenure in the industry,
Mr. Junod has provided operational supervision to numerous facilities in several states. He has
maintained Certified Correctional Health Professional (CCHP) status with NCCHC since 2009,
and has led several facilities through the accreditation process with NCCHC and ACA.

Jon Echols, Co-Founder, President

Jon Echols co-founded Turn Key Health Clinics in 2009. He is also a life long resident of
Oklahorna with strong family roots in the state. Prior to starting Turn Key Health, Jon co-
founded and operated other successful healthcare companies focused on recruiting and
retaining top medical talent. He received his B.S. from the University of Oklahoma and his J.D.
from Oklahoma City University. His initial practice focused on complex healthcare transactional
work and litigation. Jon’s diverse background and concern for patient care is a great asset to
Turn Key Health.

Jesse White, Co-Founder, Chief Financial Officer

Jesse White is a life long resident of Oklahoma with extensive healthcare and financial
experience. He is a graduate of the University of Oklahoma with a B.S. and a J.D. Jesse used
his law degree practicing healthcare law for one of the states largest law firms. Jesse has also
served as CFO for numerous businesses and uses his extensive knowledge of law, healthcare
and finance to maximize savings for Turn Key Health's clients.

Dr. William Cooper, Chief Medical Officer

Doctor Cooper’s vast realm of experience includes family medicine, behavioral health,
emergency medicine, and more than 15 years of correctional medicine for the Oklahoma
Depariment of Corrections. Prior to joining Turn Key, Dr. Cooper finished his career with ODOC
as the Chief Medical Officer, holding responsibility for the entire State of Oklahoma.

 

Cindy Bilyeu, Regional Nurse Manager

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Cindy Bilyeu is also a lifelong resident of Oklahoma. Her career in law enforcement began in
1981 as an officer in McLoud, Oklahoma. In 1998, she was offered the opportunity to contribute
to the development and opening of a 1,500 bed prison in McLoud. While there, she was
instrumental in implementing best practice concepts developed through her collaboration with
correctional facilities throughout the United States. In 2003, Ms. Bilyeu expanded her
professional experience into the medical field. Cindy joined Turn Key Health Clinics in 2008 as
a Program Administrator. She has been instrumental in overseeing the majority of the
Oklahoma programs’ initial startups and their ongoing operations.

Nicole Cobb, Regional Nurse Manager

Nicole Cobb has overseen numerous healthcare delivery systems in correctional facilities
ranging in populations from 100 to 1,600 inmates. Nicole maintains a Registered Nurse license
in each state in which we operate. She has implemented our program and continues to oversee

the delivery of care for several programs in Oklahoma, Kansas, and Arkansas.

Danny Hickman, Sheriff (Retired) — Client Liaison

Prior to joining the Turn Key management team, Danny Hickman served his Arkansas
communities for more than 16 years as a Jail Warden, Director of Arkansas Jail Standards, and
as the Sheriff of Boone County, Arkansas. Danny is a Past President and a lifetime member of
the Arkansas Sheriffs Association. He has also served as the Secretary of the Board with the

Arkansas Association of Counties.

Sheriff Hickman’s role with Turn Key is two-fold. First, Danny ensures each program is
operating efficiently and in compliance with all applicable standards. Second, as a long-term
member of the Arkansas law enforcement community, Danny holds Turn Key accountable to
uphold our commitment to his law enforcement colleagues throughout Arkansas and the region

he serves.

Rhett Burnett, Undersheriff (Retired) — Client Liaison and Risk Management Coordinator

Rhett career in law enforcement in Oklahoma and abroad spans more than 35 years. During
his career, Rhett has served as the Undersheriff for Cleveland County, as District Attorney
Investigator, as a Lead Detective, Patrol Supervisor, Police Trainer, Patrol Officer, USAF
Security Police Supervisor and Trainer, and is considered an expert in homicide, violent crime,

sex crime and fraud cases and investigative techniques.

Rhett’s role with Turn Key is also two-fold. Rhett ensures that each site is operating efficiently
and in compliance with all applicable standards and contracts. Second, he holds Turn Key
accountable to our commitment to his long term colleagues throughout Oklahoma and
surrounding areas.

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April Farmer — Client Liaison

April Farmer is a native Texan and has been in the corrections industry since 2005. Throughout
her tenure in the industry, April has developed professional parinerships with numerous county
agencies in 25 states. April's local government experience includes new business
development, account management, and client retention with Sheriff's offices, County jails,
County health departments, County auditors, and Juvenile probation departments. April's
background covers over 16 years of sales and marketing experience which makes her a great
addition to our client liaison team.

 

 

 

 

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